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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OHIO
                                     WESTERN DIVISION

s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s

 MARK ONE WIPES, LLC                                      :           Case No. 3:22-cv-00258-JJH

          Plaintiff,                                      :           (Hon. Jeffrey J. Helmick)

 vs.                                                      :           STIPULATION OF DISMISSAL

 ALSTON & BIRD LLP, et al.                                :

          Defendants.                                     :

s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s-s

        Pursuant to Fed.R.Civ.P. 41(a)(1)(A)(ii) and the stipulation of the parties, Plaintiff Mark One

Wipes, LLC hereby voluntarily dismisses defendants Kevin S. Minoli, Esq., Elise N. Paeffgen, Esq.,

Samuel D. Jockel, Esq., Brendan Carroll, Esq., and Daniel G. Jarcho, Esq., without prejudice, and

with no party bearing the costs and attorney’s fees of the others.

                                                              IT IS SO ORDERED:


                                                              HON. JEFFREY J. HELMICK

                                                              Date:
     Case: 3:22-cv-00258-JJH Doc #: 24 Filed: 08/02/23 2 of 2. PageID #: 140


IT IS SO STIPULATED:


   /s/Kevin C. Hulick                      /s/ Adam S. Nightingale
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   Kevin C. Hulick (0093921)               Adam S. Nightingale (0079095)
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